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                          Attorneys for Defendant
                     13   AMAZON.COM SERVICES LLC
                     14
                                                       UNITED STATES DISTRICT COURT
                     15                                     DISTRICT OF NEVADA
                     16   JASMINE SOLARES and ESTEFANIA                       Case No. 2:24-CV-00881-EJY
                          CORREA,
                     17
                                         Plaintiff,                           STIPULATION AND PROPOSED
                     18                                                       ORDER TO EXTEND TIME FOR
                          v.                                                  DEFENDANT TO RESPOND TO
                     19                                                       COMPLAINT
                          AMAZON.COM SERVICES LLC,
                     20                                                       (First Request)
                                         Defendants.
                     21

                     22

                     23           Plaintiffs JASMINE SOLARES and ESTEFANIA CORREA (“Plaintiffs”) and Defendant

                     24   AMAZON.COM SERVICES LLC (“Defendant”), by and through their undersigned counsel,

                     25   hereby agree and stipulate to extend the time for Defendant to file a response to the Complaint from

                     26   the current deadline of June 5, 2024, up to and including July 5, 2024. In exchange for the thirty

                     27   (30) day extension of time to respond to the Complaint, Defendant agrees not to dispute service of

      LITTLER        28   process.
 MENDELSON, P.C.
3960 Howard Hughes
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                              Case 2:24-cv-00881-EJY Document 10 Filed 05/31/24 Page 2 of 2



                      1            The requested extension is necessary in light of the fact that Defendant’s counsel was just
                      2   recently retained and additional time is needed to permit defense counsel to conduct an
                      3   investigation into the allegations and prepare a response to the Complaint.
                      4          This is the first request for an extension of time to respond to the Complaint. This request is
                      5   made in good faith and not for the purpose of delay.
                      6 Dated: May 31, 2024

                      7

                      8
                        /s/ Leon Greenberg, Esq.         /s/ Amy L. Thompson, Esq.
                      9 LEON GREENBERG, ESQ.             MONTGOMERY Y. PAEK, ESQ.
                        RUTHANN DEVEREAUX-GONZALES, ESQ. AMY L. THOMPSON, ESQ.
                     10 LEON GREENBERG PROFESSIONAL      LITTLER MENDELSON, P.C.
                        CORPORATION
                     11                                  BRADLEY J. HAMBURGER, ESQ.
                        JAMES P. KEMP, ESQ.              MEGAN COONEY, ESQ.
                     12
                        KEMP & KEMP, ATTORNEYS AT LAW    GIBSON DUNN
                     13
                        Attorneys for Plaintiff          Attorneys for Defendant
                     14 JASMINE SOLARES and ESTEFANIA    AMAZON.COM SERVICES LLC
                        CORREA
                     15

                     16                                                  IT IS SO ORDERED.

                     17                                                          May 31, 2024
                                                                         Dated: _______________________

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                                                                         _____________________________________
                     20                                                  UNITED STATES MAGISTRATE JUDGE

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